            Case 1:22-cv-02378-JMC Document 20 Filed 10/12/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DAVID MCNEILL,

                   Plaintiff,                      Civil Action No. 1:22-cv-02378-JMC

       v.

INTERNATIONAL BUSINESS MACHINES
CORP.,

                   Defendant.


                    DEFENDANT INTERNATIONAL BUSINESS
                 MACHINES CORPORATION’S MOTION TO CONFIRM

       For the reasons set forth in Defendant International Business Machines Corporation’s

(“IBM’s”) accompanying memorandum of law, IBM hereby moves this Court to confirm the

Arbitrator’s award granting IBM’s motion to dismiss Plaintiff’s claim as untimely.

Dated: October 12, 2022                           Respectfully submitted,

                                                  /s/ Craig S. Friedman
                                                  Craig S. Friedman (admitted pro hac vice)
                                                  csfriedman@jonesday.com
                                                  Patrick M. Corley (admitted pro hac vice)
                                                  pcorley@jonesday.com
                                                  JONES DAY
                                                  1221 Peachtree Street, N.E., Suite 400
                                                  Atlanta, GA 30361
                                                  (404) 581-8412 (Telephone)
                                                  (404) 581-8330 (Facsimile)
                                                  Thomas R. Chiavetta
                                                  D.C. Bar No. 985370
                                                  tchiavetta@jonesday.com
                                                  51 Louisiana Avenue, N.W.
                                                  Washington, DC 20001.2113
                                                  (202) 879-3939 (Telephone)
                                                  (202) 626-1700 (Facsimile)
                                                  Attorneys for Defendant
         Case 1:22-cv-02378-JMC Document 20 Filed 10/12/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2022, a true and correct copy of the foregoing document

was filed with the Clerk of the Court for the United States District Court for the District of

Columbia by using the CM/ECF system, which will then send a notification of such filing to all

counsel of record.




                                                     /s/ Craig. S. Friedman
                                                     Craig S. Friedman

                                                     An Attorney for Defendant
